                     Case: 21-1530                 10-1
                                         Document: 41-1                05/27/2021
                                                                Filed: 06/26/2021       Page: 1                       (1 of 36)

       05/27/2021             UNITED STATES COURT OF APPEALS
DEBORAH S. HUNT, Clerk             FOR THE SIXTH CIRCUIT                                      RECEIVED
                                                                                                  06/26/2021
       Case Number: 21 - 1530                                                           DEBORAH S. HUNT, Clerk

       Case Name: MELVIN JONES JR v. NAPOLI SHKOLNIK, PLLC, et al
       Name: Melvin Jones Jr. - Disabled Pro Se Appellant/ Plainitff
       Address: 1935 Hosler St. - Flint, Michigan 48503
       City: FLINT                                     State: MI.        Zip Code: 48503



                                        PRO SE APPELLANT'S BRIEF

       Directions: Answer the following questions about the appeal to the best of your ability. Use
       additional sheets of paper, if necessary, not to exceed 30 pages. Please print or write legibly, or type
       your answers double-spaced. You need not limit your brief solely to this form, but you should be
       certain that the document you file contains answers to the questions below. The Court prefers short
       and direct statements.

       Within the date specified in the briefing letter, you should return one signed original brief to:

                            United States Court of Appeals For The Sixth Circuit
                                     540 Potter Stewart U.S. Courthouse
                                             100 East Fifth Street
                                        Cincinnati, Ohio 45202-3988


       1. Did the District Court incorrectly decide the facts?                Yes                  No

            If so, what facts?
             I am not sure here.... becuase I think that the District Court incorrectly brought the
            WRONG LAW and/ or MISAPPLIED/ MISINTERPRETED the LAW... for example as to
            allowing me to amend the complaint if it failed to state a claim. And, misapplied that LAW
            as to GRANTING/ considering my COMMUNICATION - IMPAIRMENT {e.g. which is linked
            to my drivers licesnse being "medically suspended" [i.e. emails with Mr. Loury].

       2. Do you think the District Court applied the wrong law?              ✔ Yes                     No

            If so, what law do you want applied?
            1.) the wrong law as to "ex-parte" communications with (for example) Honorable Judge
            Tarnow's Clerk (i.e. when the defendants were ALSO carbon copied); the Law as to AT
            least considering my 'communication - impairment (e.g. whereby, I admit that I tend to file
            ALOT of documents, becuase I suffer from [EPISODIC confusion and IMPAIRED
            CONCONTRATION/ i.e. in 2016 my previous primary doctor (Dr. Arti Subramanian
            diagonsed me with such DUE TO MY CARDIAC MEDICATIONS side effect upon me for
            example. And, the LAW which allows District Court PRo SE Administrator (Richard Loury)
            to communicate with me via email [e.g. so as to attempt to protect my medical confidential
            information and such]. ADDITIONALLY SEE THE OUTLINE (A and B attached hereto).

       6C A -70
       03/10                                                                                            Page 1 of 2
             Case: 21-1530                 10-1
                                 Document: 41-1              05/27/2021
                                                      Filed: 06/26/2021      Page: 2                     (2 of 36)

3. Do you feel that there are any others reasons why the District Court's judgment was wrong?
       ✔ Yes           No
   If so, what are they?
   I believe that the district court WAY TOO HEAVILY relied upon the Judge Battani matter
   (e.g. Jones, et al v. Michigan Department of Civil Rights et al) as to MY INABILITY to get to
   the Detrioit District Court (e.g. at the time there was NO ZOOM); and the seriousness of my
   medical conditions [e.g. I do NOT purposely file so many documents, and I believe that
   such is linked to me having had TIA - Strokes --- in short, I CANNOT HELP SUCH.

4.     What specific issues do you wish to raise on appeal?
      SEE THE TWO OUTLINES [and] documents attached hereto; and
      a.) By my observation --- I have had more than ONE stroke (e.g. and/ or TIA stroke), and I
      am prescribed 4 (four) cardiac - medications [e.g. which is ONE more that what I was
      prescribed in 2017 - 2019.... and such has a SERIOUS [episodic] disabling side effect
      which renders me such that I tend to have a difficult time communicating/ processing what I
      what to say.... and this [among my other serious medical conditions] CAUSES to file ALOT
      of documents.... but I think that such amounts to a COMMINCATION - DISORDER/
      Impairment.... which is covered by the LAW as it applies to the Detroit District Court.... and
      the District Court WRONGLY applied the LAW against me here.... such that my civil lawsuit
      was wrongly dismissed ...which MANDATES a DENOVO review by the 6th Circuit Court of
      Appeals;

      b.) AND, ...I believe that the attorney defendants [Napoli Law Firm, et al] wrongly
      abandoned me as a DISABLED - CLIENT (e.g. Whereby I believe that the District COurt
      wrongly applied the law to such.... in that said attorney defendants CAUSED ME UNDUE
      PREJUDICE in there actions (e.g. to include the [mis] conduct as to the "BONE SCAN"

5. What action do you want the Court of Appeals to take in this case?
      1.) any actions which protects my Michigan State Constitutional Rights, and Federal Rights,
      2.) ISSUE A "SHOW CAUSE ORDER" to me IF my Appellants Brief NEEDS further
      explaination.
      3.) REMAND (e.g. AFTER The 6th Circuit Court of Appeals CONDUCTS a DE NOVO
      REVIEW.

I certify that a copy of this brief was sent to opposing counsel via U.S. Mail on the 27th day of
            (via email) MAY , 20 21 .


                                             Signature (Notary not required)




6C A -70
03/10                                                                                      Page 2 of 2
  5/27/2021                   Case:
                    Gmail - Melvin Jones21-1530         Document:
                                        Jr.'s Pro Se Appellate-Brief        10-2 Filed:
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                                                                                                    VIA EMAIL as a courtesy 3                   (3 of A…36)
         05/27/2021
DEBORAH S. HUNT, Clerk
                                                                                                        Mel jones jr <meljonesjr@gmail.com>



    Melvin Jones Jr.'s Pro Se Appellate-Brief (with attachments) sent to you VIA EMAIL
    as a courtesy copy of such as to 6th Circuit Appeal # 21 - 1530
    1 message

    Mel jones jr <meljonesjr@gmail.com>                                                          Thu, May 27, 2021 at 8:57 PM
    To: "Stern, Corey" <cstern@levylaw.com>, Patrick Lanciotti <PLanciotti@napolilaw.com>, hunter@napolilaw.com
    Cc: mel jones jr <meljonesjr@gmail.com>, Amanda Trujillo <atrujillo@cityofflint.com>, wkim@cityofflint.com,
    bergf@butzel.com, klein@butzel.com, Flint Mayor <mayor@cityofflint.com>, "Cc: Colleen Connors"
    <cmcolleen4@gmail.com>, Michigan Attorney General <miag@michigan.gov>, jmcampbell@campbell-trial-lawyers.com,
    bush@bsplaw.com, williams@bsplaw.com, "Alaina N." <adevine@campbell-trial-lawyers.com>,
    travis.gamble@faegredrinker.com, david.kent@faegredrinker.com, vance.wittie@faegredrinker.com,
    perickson@plunkettcooney.com, rkamenec@plunkettcooney.com, rstowers@plunkettcooney.com, Saulius
    <smikalonis@plunkettcooney.com>, wayne.mason@faegredrinker.com, Blessedami97@yahoo.com, mel jones
    <meljr777@yahoo.com>, "Mel Jones Jr." <midcenturyatfirst@gmail.com>, ctaylor@jonesday.com, lpgabel@jonesday.com,
    melindetroit <melindetroit@gmail.com>, Complaints Office 05 <ComplaintsOffice05@hud.gov>, tleopold@cohenmilstein.com,
    smorrissey@susmangodfrey.com, mpitt@pittlawpc.com, peretz@bgandg.com, pnovak@weitzlux.com,
    tbingman@tbingmanlaw.com, eberezofsky@eblawllc.com, Val@vlwlegal.com, robinsonr11 <robinsonr11@michigan.gov>,
    "King-Piepenbrok, Pier (AG)" <KingP1@michigan.gov>, ted.frank@hlli.org, frank.bednarz@hlli.org, "Stern, Corey"
    <cstern@levylaw.com>, "OnLine Complaint, CP" <cp_ocs@michigan.gov>
    Bcc: "Mel Jones Jr." <midcenturyatfirst@gmail.com>, mel jones <meljr777@yahoo.com>, Blessedami97@yahoo.com


      5-27-2021
      To: ALL PARTIES
      Please see attached ....Disabled Pro Se
      Appellant/ Plaintiff.... Melvin Jones Jr.'s Pro Se
      Appellate-Brief (with attachments) sent to you
      VIA EMAIL as a courtesy copy of such as to 6th
      Circuit Appeal # 21 - 1530.
      Thank you.,
      /s/
      Melvin Jones Jr.
       7 attachments
              Jones Pro Se Appellants Brief in 21 - 1530.pdf
              51K
              Brief 1.pdf
              54K
              brief 2.pdf
              2086K
              brief 3.pdf
              744K

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                  Gmail - Melvin Jones21-1530         Document:
                                      Jr.'s Pro Se Appellate-Brief        10-2 Filed:
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            brief 5.pdf
            882K
            brief 6.pdf
            64K
            brief 7.pdf
            260K




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                                        05/27/2021
                                                                                            Mel jones jr <meljonesjr@gmail.com>
                              DEBORAH S. HUNT, Clerk

  5:21-cv-10937-JEL-EAS - Documents Can Not Be Filed
  1 message

  Richard Loury <Richard_Loury@mied.uscourts.gov>                                                   Wed, May 26, 2021 at 10:20 AM
  To: Mel jones jr <meljonesjr@gmail.com>


    Good morning, Mr. Jones.


    We received the attached documents through the Temporary Pro Se Document Upload
    Program. The documents can not be filed because of the Opinion and Order that was entered
    by Judge Levy on May 24, 2021. I have attached a copy of Judge Levy’s Opinion and Order
    to this email.


    Best,


    Richard Loury
    Pro Se Case Administrator
    U.S. District Court - Eastern District of Michigan
    Direct Phone: (313) 234-5025
    Richard_Loury@mied.uscourts.gov



     4 attachments
            Objection.pdf
            878K
            MotionInLimine.pdf
            744K
            RequestForLeave.pdf
            2069K
            OpinionAndOrder.pdf
            204K




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                                          Document: 41-1                     05/27/2021
                                                                      Filed: 06/26/2021                   1
                                                                                                    Page: 6   (6 of 36)
             05/27/2021
DEBORAH S. HUNT, Clerk

Melvvin Jones Jr - Disableed Pro Se Plaainti

1935 Hosleer St - Fliint, Michigan 48503 ---- Ph #810-9962-66225

Email:: meljjonesjr@gmail.ccom



IN
 N THE UNITTED STATES DISSTRICCT COURT FOR THE EASTERN DISSTRICCT MICCHIG
                                                                        GAN

                                                           CASE # 2:21-ccv-110937

                                                 Transferred to Judge Levy

                   Jones REQUEST FOR LEAVE to submit the attached documents
AS AN “IN
        NTERVENOR” for Judge Levy’s consideration:



Melvvin Jones Jr, Plaainti

v.

NAPOLI LAWFIR
            RM, attorney Patrick Lanciotti and attorney Hunter and
Attorney Corey Stern -- Defendants
---------------------------------------------------------------------------------------------------------

     ones REQUEST FOR LEAVE to submit the attached documents AS AN
“IN
  NTERVENOR” for Judge Levy’s consideration:
Dat : May 25t , 2021 Sig:
_______________________________________
    Pro    sa d P i t - Mel J ne .
                Case: 21-1530                       10-4
                                          Document: 41-1                     05/27/2021
                                                                      Filed: 06/26/2021                   2
                                                                                                    Page: 7   (7 of 36)




Melvvin Jones Jr - Disableed Pro Se Plaainti

1935 Hosleer St - Fliint, Michigan 48503 ---- Ph #810-9962-66225

Email:: meljjonesjr@gmail.ccom



IN
 N THE UNITTED STATES DISSTRICCT COURT FOR THE EASTERN DISSTRICCT MICCHIG
                                                                        GAN

                                                           CASE # 2:21-ccv-110937

                                                 Transferred to Judge Levy

                   Disableed Pro Se Plaainti Jones’ OBJECTIO
                                                           ON to what appears to
be attorney Stern, Lanciotti, Hunter and Napolii Law rm’s Fliint Water
Crisis LITTIG
            GATIO
                ON - MILLL:



Melvvin Jones Jr, Federal EPA, City of Fliint, Wellss Fargo Bank, HUD, and The
State of Michigan, Hamiltton Lincolnn Law Innstitute (Cntr. for Claass Action
Fairness), Dr. Mona Attisha, and Dr. Lawrence Reynoldds, and VEOLIAA
NORTH ---- Plaainti s

v.

NAPOLI LAWFIR
            RM, attorney Patrick Lanciotti and attorney Hunter and
Attorney Corey Stern -- Defendants
---------------------------------------------------------------------------------------------------------
         Case: 21-1530             10-4
                         Document: 41-1          05/27/2021
                                          Filed: 06/26/2021         3
                                                              Page: 8            (8 of 36)




Disabled Pro Se Plainti Jones’ OBJECTION to what
appears to be attorney Stern, Lanciotti, Hunter and
Napoli Law rm’s Flint Water Crisis LITIGATION - MILL:
and

Jones’ NOTICCE of intent to seek [i.ee. for the liimited purpose of submitting
this instant document and my [alrready leed] MOTIO      ON IN
                                                            N LIM
                                                                MIN
                                                                  NE] to
intervene as an IN NTERVENOR in “companion” case as to the Fliint Water
Crisis # 16-ccv-110444 (see for examplee the EMAILL attached hereto, and news
articlee regarding Wellss Fargo).

    Here, as best that I can tell as a disabled person ...i.e.
With the AID of my informal care-giver {Colleen
Connors}... the attorney defendants (Stern, Lanciotti,
Hunter and Napoli Law rm) are [for lack of a better term]
rendering the tragedy of the Flint Water Crisis into a
LITIGATION - MILL….. And in so doing,

    Said attorney defendants have put their motive [and]
the motive of their clients [possibly] at issue here !!!

    So…. lets now talk about the “ELEPHANT IN THE
LIVING ROOM”
        Case: 21-1530             10-4
                        Document: 41-1          05/27/2021
                                         Filed: 06/26/2021         4
                                                             Page: 9   (9 of 36)




     They [i.e. the named attorney defendants [and] SOME
of their clients] have sued:

a.) Wells Fargo Bank [AND at least two (2) other banks]
for $ 2 Billion dollars,

b.) The Federal EPA for [most likely hundreds of millions
of dollars],

c.) Veolia for hundreds of millions of dollars,

d.) LAN Engineering for hundreds of millions of dollars,

e.) The City of Flint for millions of dollars,

f.) The State of Michigan for $600 millions dollar
settlement,

g.) And a hospital for millions of dollars…..

    And now --- they seek to use some sort of METAL
DETECTOR to “make-it-rain-money” !!! So…. the
obvious question MUST NOW be asked…. What reasonable
and credible ADULT would seek to subject themselves and/
or THEIR CHILD to such POTENTIAL - HARM ????
        Case:21-1530
        Case: 21-1530   Document:41-1
                        Document: 10-4   Filed:06/26/2021
                                         Filed: 05/27/2021   Page:10
                                                             Page: 5   (10 of 36)




   Here…. [sadly] the Court MUST exclude the
BONE-SCAN “results” and any pro ered “opinions”
As to such from the named attorney - defendants {i.e.
as best that I, Melvin Jones Jr., can tell to protect ALL
plainti s {e.g.adults and minor children} in lawsuits
related to the Flint Water Crisis, due to:
     Serious questions as to their {i.ee. certain cliients of the
named attorney defendants (i.ee. Attorney Stern, Lanciotti,
Hunter and the Napolii Law rm)} motivation to make
money, their rolee in bringing about their injury, and the
frequency with which they sue [i.ee. liiterallyy the multtiplee
laawsuits liisted above] is NOW at issue.

Respectfully submitted,

Thank you.


Dat : May 27t , 2021


Sig     : _______________________________________
      Pro      sa d P i t - Mel J ne .
5/25/2021                  Case:
                          Case:
                Gmail - notice       21-1530
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                                       ConversationsDocument:
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                                                                                                                                         of "i…
                                                                                                                                             36)


                                                                                               Mel jones jr <meljonesjr@gmail.com>



  notice [per my Conversations with Colleen Connors - my informal caregiver] of
  INTENDED MOTION IN LIMINE to exclude ALL "information" as to --- Bone Scan
  Objection --- #21-cv-10937
  1 message

  Mel jones jr <meljonesjr@gmail.com>                                                          Tue, May 25, 2021 at 12:37 AM
  To: MIEDdb_Efile_Levy <efile_levy@mied.uscourts.gov>, leslie_calhoun@mied.uscourts.gov, hunter@napolilaw.com,
  rwalker@levylaw.com, Flint Bone Testing Center <FlintTestingCalendar@napolilaw.com>, "Cc: Patrick Lanciotti"
  <PLanciotti@napolilaw.com>, Amanda Trujillo <atrujillo@cityofflint.com>, wkim@cityofflint.com, bergf@butzel.com,
  klein@butzel.com, Flint Mayor <mayor@cityofflint.com>, "Cc: Stern, Corey" <cstern@levylaw.com>, "Cc: Colleen Connors"
  <cmcolleen4@gmail.com>, flint@napolilaw.com, FlintTeam <FlintTeam@napolilaw.com>, Michigan Attorney General
  <miag@michigan.gov>, Flint Team-3 <FlintTeam3@napolilaw.com>, jmcampbell@campbell-trial-lawyers.com,
  bush@bsplaw.com, williams@bsplaw.com, "Alaina N." <adevine@campbell-trial-lawyers.com>,
  travis.gamble@faegredrinker.com, david.kent@faegredrinker.com, vance.wittie@faegredrinker.com,
  perickson@plunkettcooney.com, rkamenec@plunkettcooney.com, rstowers@plunkettcooney.com, Saulius
  <smikalonis@plunkettcooney.com>, wayne.mason@faegredrinker.com, Blessedami97@yahoo.com, mel jones
  <meljr777@yahoo.com>, "Mel Jones Jr." <midcenturyatfirst@gmail.com>, ctaylor@jonesday.com, lpgabel@jonesday.com,
  melindetroit <melindetroit@gmail.com>, Complaints Office 05 <ComplaintsOffice05@hud.gov>, tleopold@cohenmilstein.com,
  smorrissey@susmangodfrey.com, mpitt@pittlawpc.com, peretz@bgandg.com, pnovak@weitzlux.com,
  tbingman@tbingmanlaw.com, eberezofsky@eblawllc.com, Val@vlwlegal.com, robinsonr11 <robinsonr11@michigan.gov>,
  "King-Piepenbrok, Pier (AG)" <KingP1@michigan.gov>, mel jones jr <meljonesjr@gmail.com>, ted.frank@hlli.org,
  frank.bednarz@hlli.org, Mike_Lang@mied.uscourts.gov
  Cc: Colleen Connors <cmcolleen4@gmail.com>, mel jones jr <meljonesjr@gmail.com>



    May 24th, 2021.....
    NOTICE of:
    upcoming Motion in Limine to exclude any and
    all "bone lead information and "alleged"" test
    results from the 1st and 2nd phase of the
    Flint Water Crisis lawsuits and/ or
    Settlements;
    1.) bone scone does NOT [without] undue
    prejudice indicate EXACTLY how, when and
    from WHAT source the subjects "lead" levels
    have [allegedly] increased,
https://mail.google.com/mail/u/0?ik=89255240ee&view=pt&search=all&permthid=thread-a%3Ar-7969028423073929788&simpl=msg-a%3Ar-8901029…       1/3
5/25/2021                  Case:
                          Case:
                Gmail - notice       21-1530
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                               [per my              Document:
                                       ConversationsDocument:
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                                                                                                                                             36)




    2.) alleged bone lead level CAN be easily
    manipulated by the subject in that OTHER
    lead sources are READILY available,

    3.) Bone Scan procedure by Napoli Lawfirm
    and Corey Stern ASSUMES facts NOT in
    evidence {i.e direct evidence link to "lead from
    the Flint Water Treatment Plant" as opposed
    to a MULTITUDE of other lead sources},

    4.) Said bone scan procedure unfairly and
    overly prejudicially minimizes ACTUAL lead
    exposure damage to children and adults,

    5.) said Bone Lead procedure ...should for
    example, as a basis to support ACTUAL harm
    to adults... look for [for instance] IF said
    adults are ABLE to safely operate an
    automobile.... which [if there is NO "medical
    suspension" of Michigan State Drivers
    License].... HOW is the Court supposed to
https://mail.google.com/mail/u/0?ik=89255240ee&view=pt&search=all&permthid=thread-a%3Ar-7969028423073929788&simpl=msg-a%3Ar-8901029…       2/3
5/25/2021                  Case:
                          Case:
                Gmail - notice       21-1530
                                    21-1530
                               [per my              Document:
                                       ConversationsDocument:
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                                                         Colleen Connors        Filed:caregiver]
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    RELIABLY infer significant degradation of
    'cognitive - ability' ?

    Respectfully submitted,
    /s/
    Melvin Jones Jr.




https://mail.google.com/mail/u/0?ik=89255240ee&view=pt&search=all&permthid=thread-a%3Ar-7969028423073929788&simpl=msg-a%3Ar-8901029…       3/3
5/25/2021                   Case:
                  Gmail - InCase:
                            short      I,21-1530
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                                          Melvin Jones Jr.,               10-4
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                                                            am made sad by           Filed:
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                                                                           what I sincerely    05/27/2021
                                                                                              06/26/2021
                                                                                            believe                  Page:14
                                                                                                    is Corey Stern's Page:
                                                                                                                     misguided9(at best) Law Suit against
                                                                                                                                                  (14 ofW…36)


                                                                                                        Mel jones jr <meljonesjr@gmail.com>



  In short ---- I, Melvin Jones Jr., am made sad by what I sincerely believe is Corey
  Stern's misguided (at best) Law Suit against Wells Fargo and other Banks....
  because such SEEMS to disallow proper investment in historically Black Cities (e.g.
  such as the City of Flint) !!!
  1 message

  Mel jones jr <meljonesjr@gmail.com>                                                           Mon, May 24, 2021 at 2:40 PM
  To: MIEDdb_Efile_Levy <efile_levy@mied.uscourts.gov>, leslie_calhoun@mied.uscourts.gov, hunter@napolilaw.com,
  rwalker@levylaw.com, Flint Bone Testing Center <FlintTestingCalendar@napolilaw.com>, "Cc: Patrick Lanciotti"
  <PLanciotti@napolilaw.com>, Amanda Trujillo <atrujillo@cityofflint.com>, wkim@cityofflint.com, bergf@butzel.com,
  klein@butzel.com, Flint Mayor <mayor@cityofflint.com>, "Cc: Stern, Corey" <cstern@levylaw.com>, "Cc: Colleen Connors"
  <cmcolleen4@gmail.com>, flint@napolilaw.com, FlintTeam <FlintTeam@napolilaw.com>, Michigan Attorney General
  <miag@michigan.gov>, Flint Team-3 <FlintTeam3@napolilaw.com>, jmcampbell@campbell-trial-lawyers.com,
  bush@bsplaw.com, williams@bsplaw.com, "Alaina N." <adevine@campbell-trial-lawyers.com>,
  travis.gamble@faegredrinker.com, david.kent@faegredrinker.com, vance.wittie@faegredrinker.com,
  perickson@plunkettcooney.com, rkamenec@plunkettcooney.com, rstowers@plunkettcooney.com, Saulius
  <smikalonis@plunkettcooney.com>, wayne.mason@faegredrinker.com, Blessedami97@yahoo.com, mel jones
  <meljr777@yahoo.com>, "Mel Jones Jr." <midcenturyatfirst@gmail.com>, ctaylor@jonesday.com, lpgabel@jonesday.com,
  melindetroit <melindetroit@gmail.com>, Complaints Office 05 <ComplaintsOffice05@hud.gov>, tleopold@cohenmilstein.com,
  smorrissey@susmangodfrey.com, mpitt@pittlawpc.com, peretz@bgandg.com, pnovak@weitzlux.com,
  tbingman@tbingmanlaw.com, eberezofsky@eblawllc.com, Val@vlwlegal.com, robinsonr11 <robinsonr11@michigan.gov>,
  "King-Piepenbrok, Pier (AG)" <KingP1@michigan.gov>, mel jones jr <meljonesjr@gmail.com>, ted.frank@hlli.org,
  frank.bednarz@hlli.org, Mike_Lang@mied.uscourts.gov
  Cc: Colleen Connors <cmcolleen4@gmail.com>, Mike_Lang@mied.uscourts.gov


    Please see the attached news article.....
    On Mon, May 24, 2021 at 9:49 AM Mel jones jr <meljonesjr@gmail.com> wrote:

      It has occurred to me that Attorney Corey Stern
      is NOT from California.... and as I recall ....
      Wells Fargo Bank originated in California (i.e.
      see for example the season 1 episode which
      depicts such).
      Respectfully Submitted.
      "Tales of Wells Fargo" --- season 1 - episode 1
      https://www.youtube.com/watch?v=mnTma65aJXE

            Wells Fargo Completes Investments in 13 Black-Owned Banks, Fulfilling $50 Million Pledge Made in
            2020.pdf
            489K




https://mail.google.com/mail/u/0?ik=89255240ee&view=pt&search=all&permthid=thread-a%3Ar-6401039267872598222&simpl=msg-a%3Ar-7431489…                    1/1
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                              Wells             Document:
                                    Fargo Completes               10-4
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                                                                   13 Black-Owned  05/27/2021
                                                                            Filed:Banks,
                                                                                   06/26/2021              Page:
                                                                                         Fulfilling $50 Million      10Made in 2020
                                                                                                                     15
                                                                                                                Pledge                                      (15 of 36)
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                                                                                                                                    U.S. markets close in 1 hour 25 minutes

S&P 500                    Dow 30                        Nasdaq                    Russell 2000                   Crude Oil
4,208.28                   34,462.09                     13,699.84                 2,229.72                       65.89
+52.42 (+1.26%)            +254.25 (+0.74%)              +228.84 (+1.70%)          +14.45 (+0.65%)                +2.31 (+3.63%)




   Wells Fargo Completes Investments in 13 Black-Owned
   Banks, Ful lling $50 Million Pledge Made in 2020
                            Mon, May 24, 2021, 8:30 AM · 5 min read




                                WFC +1.08%



                            Wells Fargo & Company (NYSE: WFC) today announced it has
                                nalized investments in two additional African American
                            Minority Depository Institutions (MDIs): The Harbor Bank of
                            Maryland and Industrial Bank of Washington, D.C. By making
                            these last two equity capital investments, the company has
                            made investments in a total of 13 MDIs and has ful lled the
                            bank’s March 10, 2020, announcement to commit $50 million
                            to Black-owned banks in communities across the country.

                            This press release features multimedia. View the full release
                            here:
                            https://www.businesswire.com/news/home/20210524005139/e
                            n/


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https://finance.yahoo.com/news/wells-fargo-completes-investments-13-123000464.html?guccounter=1&guce_referrer=aHR0cHM6Ly93d3cuZ29vZ2xl…                                    1/7
5/24/2021                Case: 21-1530
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                                  Fargo Completes               10-4
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     HOME     MAIL    NEWS      FINANCE    SPORTS     ENTERTAINMENT       LIFE   SHOPPING   YAHOO PLUS   MORE...                                  Try it free
                                                                                                         WFC                     46.38   +0.49      +1.08%
                                                                                                         Wells Fargo & Company

                                   Search for news, symbols or companies                                                  Sign in                         Mail
                          Wells Fargo invests in 13 MDIs in total (Graphic: Wells Fargo)
                                                                                                         TTRENDING
                                                                                                           RENDING
                                                      - ADVERTISEMENT -
                                                                                                              Here is one big in ation risk not many
                                                                                                         1.   people are thinking about

                                                                                                              Merkel Says Minsk’s Explanations Aren’t
                                                                                                         2.   Credible: Belarus Update

                                                                                                              U.S. administers nearly 287 mln doses of
                                                                                                         3.   COVID-19 vaccines - CDC

                                                                                                              Shell to sell interest in Deer Park re nery
                                                                                                         4.   to partner Pemex

                                                                                                              Stocks Climb as In ation Fears Ebb;
                                                                                                         5.   Bitcoin Jumps: Markets Wrap


                          "We are pleased to announce our investments in the Harbor
                          Bank of Maryland and Industrial Bank, bringing the total
                          number of MDIs in which we’ve made an investment to 13. We
                          are a proud partner to all these banks as each serves as a
                          cornerstone to the communities they serve," said Gigi Dixon,
                          head of External Engagement for Diverse Segments,
                          Representation and Inclusion at Wells Fargo. "The way we’ve
                          structured this program goes beyond a simple capital
                          investment; we’ve worked to understand these MDIs, their
                          needs, their strategic aspirations, and their challenges. We
                          want to help them grow so they can continue to be important
                          drivers of economic vitality for years to come."

                          As part of the investment, Wells Fargo is o ering access to a
                          dedicated relationship team that can work with each MDI on
                             nancial, technological, and product development strategies
                          to help each institution strengthen and grow. In addition, Wells
                          Fargo will be making its nationwide ATM network available for
                          customers of these 13 MDIs to use without incurring fees.

                          "Honoring our 86+ year commitment of educating and helping
                          our communities build generational wealth, Industrial Bank is
                          excited to partner with Wells Fargo in expanding these
                          e orts," said B. Doyle Mitchell, Jr., president and CEO of
                          Industrial Bank. "Being one of only 20 African American banks
                          in the country, this partnership will enhance our ability to
                          grow and create more opportunities to provide capital to
                          those communities we support. We appreciate Wells Fargo for
                          its commitment to invest in minority institutions and
                          partnering to alleviate the negative impact of nancial




                          inequalities on communities of color and closing the racial
                          wealth gap "
https://finance.yahoo.com/news/wells-fargo-completes-investments-13-123000464.html?guccounter=1&guce_referrer=aHR0cHM6Ly93d3cuZ29vZ2xl…                         2/7
               Case:21-1530
               Case: 21-1530             Document:41-1
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                                                                     Filed: 05/27/2021             Page:17
                                                                                                   Page: 1   (17 of 36)

                                      05/27/2021
                         DEBORAH S. HUNT, Clerk

Melvvin Jones Jr - Disableed Pro Se Plaainti

1935 Hosleer St - Fliint, Michigan 48503 ---- Ph #810-9962-66225

Email:: meljjonesjr@gmail.ccom



IN
 N THE UNITTED STATES DISSTRICCT COURT FOR THE EASTERN DISSTRICCT MICCHIG
                                                                        GAN

                                                           CASE # 2:21-ccv-110937

                                                 Transferred to Judge Levy

 Disableed Pro Se Plaainti Jones’ Motion in Limine to EXCLUDE any and all
testimony, “test resultts” and reports and or studies as to the “BONE LEAD
SCAN” re: Napolii Lawﬁrm and attorney STERN:



Melvvin Jones Jr, Federal EPA, City of Fliint, Wellss Fargo Bank, HUD, and The
State of Michigan, Hamiltton Lincolnn Law Innstitute (Cntr. for Claass Action
Fairness), Dr. Mona Attisha, and Dr. Lawrence Reynoldds, and VEOLIAA
NORTH ---- Plaainti s

v.

NAPOLI LAWFIR
            RM, attorney Patrick Lanciotti and attorney Hunter and
Attorney Corey Stern -- Defendants
---------------------------------------------------------------------------------------------------------
      Case:21-1530
      Case: 21-1530   Document:41-1
                      Document: 10-5   Filed:06/26/2021
                                       Filed: 05/27/2021   Page:18
                                                           Page: 2   (18 of 36)




Jones’ MOTION in Limine:

Motion in Limine to exclude any and all "bone lead
information and "alleged"" test results from the 1st
and 2nd phase of the Flint Water Crisis lawsuits
and/ or Settlements;


1.) bone scone does NOT [without] undue prejudice
indicate EXACTLY how, when and from WHAT
source the subjects "lead" levels have [allegedly]
increased,


2.) alleged bone lead level CAN be easily
manipulated by the subject in that OTHER lead
sources are READILY available,


3.) Bone Scan procedure by Napoli Lawfirm and
Corey Stern ASSUMES facts NOT in evidence {i.e
direct evidence link to "lead from the Flint Water
Treatment Plant" as opposed to a MULTITUDE of
other lead sources},
      Case:21-1530
      Case: 21-1530   Document:41-1
                      Document: 10-5   Filed:06/26/2021
                                       Filed: 05/27/2021   Page:19
                                                           Page: 3   (19 of 36)




4.) Said bone scan procedure unfairly and overly
prejudicially minimizes ACTUAL lead exposure
damage to children and adults,


5.) said Bone Lead procedure ...should for example,
as a basis to support ACTUAL harm to adults... look
for [for instance] IF said adults are ABLE to safely
operate an automobile.... which [if there is NO
"medical suspension" of Michigan State Drivers
License].... HOW is the Court supposed to
RELIABLY infer significant degradation of 'cognitive
- ability' ?


6.) said “BONE SCAN” procedure calls for
[prejudicial speculation],


7.) said BONE LEAD procedure is OVERLY
CONFUSING, introduces matter which has the
actual probative value as to amount to a
RED-HERRING, has NO legitimacy in establishing
CREDIBILITY of any of the subjects, and instead
        Case:21-1530
        Case: 21-1530   Document:41-1
                        Document: 10-5   Filed:06/26/2021
                                         Filed: 05/27/2021   Page:20
                                                             Page: 4   (20 of 36)




DOES IN FACT for the reasons stated above
PRODUCE FALSE POSITIVE READINGS [and]
FALSE NEGATIVE READINGS.,


8.) said BONE SCAN procedure…. UNJUSTLY
ENRICHES attorney Ster, Hunter, Lanciotti and
Napoli Law Firm, at the undue expense of persons
such as myself {i.e. Melvin Jones Jr}.,


9.) Said BONE SCAN procedure and alleged results
therefrom are ARGUMENTATIVE, and are NOT, is
NOT best evidence, and thus LACKS proper
relevance; and calls for speculation.


Respectfully submitted,              Thank you.


Dat : May 27t , 2021


Sig     : _______________________________________
      Pro      sa d P i t ﬀ - Mel J ne .
            Case:21-1530
            Case: 21-1530        Document:41-1
                                 Document: 10-6     Filed:06/26/2021
                                                    Filed: 05/27/2021     Page:21
                                                                          Page: 1   (21 of 36)

                       05/27/2021
            DEBORAH S. HUNT, Clerk

Melvvin Jones Jr - Pro Se Plaainti   1935 Hosleer St - Fliint, Michigan 48503

Ph #810-9962-66225        Email:: meljjonesjr@gmail.ccom



IN
 N THE UNITTED STATES DISSTRICCT COURT FOR THE EASTERN DISSTRICCT MICCHIG
                                                                        GAN

                                            CASE # 2:21-ccv-110937

                       Relaated case # 16 - 10444

                       Transferred to District Court Judge Levey

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Melvvin Jones Jr, Federal EPA, City of Fliint, Wellss Fargo Bank, HUD, and The
State of Michigan , Hamiltton Lincolnn Law Innstitute (Cntr. for Claass Action
Fairness), Dr. Mona Attisha, and Dr. Lawrence Reynoldds, and VEOLIAA
NORTH ---- Plaainti s

v.

NAPOLI LAWFIR
            RM, and Attorney Corey Stern, Attorney Hunter and
Attorney Lanciotti ---- Defendants

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       Case:21-1530
       Case: 21-1530   Document:41-1
                       Document: 10-6   Filed:06/26/2021
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with Colleen Connors ((e.g.
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                        .g. my inf      caregiver).....
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disabled pers
         person                        ((e.g.
           r on per Michigan State Law (e .g. whom is also a

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                     r Lanciotti and Stern’s pro ering as

evidence ---- AN
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               NY and AL
                      A L “opinions” and/           “results”
                                       d or alleged “results
                                                          t ”

as to the “Bone Scans” put upon the residents
                                           t of
                                              o the City
                                                      t of
                                                         o Flint,
                                                               t

because:


    1.) such is discriminatory against me because I would not

subject myself to what would amount to Michigan State

Sanctioned “IN-HUMAN” unwanted bodily invasion for

POTENTIAL monetary pro t[s],


    2.) such wrongfully DEPRIVES me of my equal rights under

the law as a Disabled Black Citizen of the State of Michigan NOT
        Case:21-1530
        Case: 21-1530   Document:41-1
                        Document: 10-6   Filed:06/26/2021
                                         Filed: 05/27/2021   Page:23
                                                             Page: 3   (23 of 36)




to be subjected to ...what amounts to UNNEEDED -

EXPLORATORY “information” gathering of my DNA,

MOLECULAR BONE MATTER, and/ or EXPOSURE TO [potential]

ATOMIC induced rays (of any kind),


      3.) such is patently unreliable because it AMOUNTS to

unveri able HEAR-SAY…. Whereby NAPOLI LAW FIRM, attorney

HUNTER, LANCIOTTI and STERN are NOW essentially testifying

AS PARTIES here, whereby SUCH is NOT allowed per the Master/

Global Settlement Agreement,


      4.) such is directly VIOLATIVE of the MASTER/ GLOBAL

SETTLEMENT AGREEMENT…. Because said “bone scans”

wrongly deprives me of my FREEDOM of choice over my own

body… at the expense of me NOT getting money for having done

so.
       Case:21-1530
       Case: 21-1530   Document:41-1
                       Document: 10-6   Filed:06/26/2021
                                        Filed: 05/27/2021   Page:24
                                                            Page: 4   (24 of 36)




    5.) such wrongly INJECTS Phd. Speckt in the roll of a PARTY

in this matter and as such is violative of the Master Settlement

Agreement,


    6.) such is NOT readily VERIFIABLE (e.g. by an ethical

disinterested “REAL MEDICAL DOCTOR” such as Dr. Attisha or

Dr. Lawrence….. Because said REAL MEDICAL DOCTORS would

NEVER perform said”bone scans” using the said industrial metal

detector device ON HUMANS,


    7.) such is ---- unduly SUBJECT to being “rigged” for the

bene t of Napoli Law Firm and Attorney Corey Stern…. Because

NO ONE from the FDA oversaw the “bone scan process”.

Respectfully Submitted.           Date: May 27th, 2021



signed : ……………………………………………………………………………..


    Melvin Jones Jr. - Disabled Black African

American Pro Se Plaintiff
5/24/2021                   Case:
                            Case:
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                                      21-1530
                              is welcomed            Document:
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                                                                                        06/26/2021
                                                                                     Lanciotti                     Page:
                                                                                                                  Page:
                                                                                               will voluntarily provide      5
                                                                                                                            25
                                                                                                                        an AFFIDAVIT          (25 of 36)
                                                                                                                                     of our conversation…



                                                                                                      Mel jones jr <meljonesjr@gmail.com>



  The is welcomed good news indeed !!! Now.... maybe Attorney Lanciotti will
  voluntarily provide an AFFIDAVIT of our conversation.... so as not to waste the
  Court's time with a formal motion for such ?
  1 message

  Mel jones jr <meljonesjr@gmail.com>                                                           Mon, May 24, 2021 at 5:13 PM
  To: MIEDdb_Efile_Levy <efile_levy@mied.uscourts.gov>, leslie_calhoun@mied.uscourts.gov, hunter@napolilaw.com,
  rwalker@levylaw.com, Flint Bone Testing Center <FlintTestingCalendar@napolilaw.com>, "Cc: Patrick Lanciotti"
  <PLanciotti@napolilaw.com>, Amanda Trujillo <atrujillo@cityofflint.com>, wkim@cityofflint.com, bergf@butzel.com,
  klein@butzel.com, Flint Mayor <mayor@cityofflint.com>, "Cc: Stern, Corey" <cstern@levylaw.com>, "Cc: Colleen Connors"
  <cmcolleen4@gmail.com>, flint@napolilaw.com, FlintTeam <FlintTeam@napolilaw.com>, Michigan Attorney General
  <miag@michigan.gov>, Flint Team-3 <FlintTeam3@napolilaw.com>, jmcampbell@campbell-trial-lawyers.com,
  bush@bsplaw.com, williams@bsplaw.com, "Alaina N." <adevine@campbell-trial-lawyers.com>,
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  <smikalonis@plunkettcooney.com>, wayne.mason@faegredrinker.com, Blessedami97@yahoo.com, mel jones
  <meljr777@yahoo.com>, "Mel Jones Jr." <midcenturyatfirst@gmail.com>, ctaylor@jonesday.com, lpgabel@jonesday.com,
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  tbingman@tbingmanlaw.com, eberezofsky@eblawllc.com, Val@vlwlegal.com, robinsonr11 <robinsonr11@michigan.gov>,
  "King-Piepenbrok, Pier (AG)" <KingP1@michigan.gov>, mel jones jr <meljonesjr@gmail.com>, ted.frank@hlli.org,
  frank.bednarz@hlli.org, Mike_Lang@mied.uscourts.gov
  Cc: Colleen Connors <cmcolleen4@gmail.com>, mel jones jr <meljonesjr@gmail.com>




            Former Flint water consultant joins in calling bone lead tests unreliable - mlive.com.pdf
            258K




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    Former Flint water consultant joins in calling
    bone lead tests unreliable
    Updated 4:48 PM; Today 4:48 PM




Mayor Dayne Walling takes notes during a news conference on Tuesday, Feb. 10, 2015 at City Hall in Flint. Flint's city
officials have hired Veolia Water North America as a water consultant to aid in improving Flint water quality issues,
paying $40,000 to the company that will make recommendations in two weeks. (Jake May | MLive.com) Jake May |
MLive.com
            Case:21-1530
            Case: 21-1530     Document:41-1
                              Document: 10-6     Filed:06/26/2021
                                                 Filed: 05/27/2021   Page:27
                                                                     Page: 7              (27 of 36)


By Ron Fonger | rfonger1@mlive.com


FLINT, MI -- One of the world’s largest utility companies and a former water consultant
to the city of Flint wants a federal court judge to exclude the testimony of a doctor who
has overseen bone testing here, saying the devices used by Dr. Aaron Specht are
unreliable for measuring lead exposure.

Veolia North America, which has declined to join the state of Michigan and others in
settling lawsuits filed on behalf of Flint residents who claim they were harmed by city
water, filed the motion in U.S. District Court this month, the most recent objection to a
controversial method of testing of Flint residents’ bones using portable x-ray
fluorescence devices.

                                       Advertisement




“Dr. Specht and his colleagues purchased pXRF devices that are normally used for
mining exploration, soil analysis, and consumer goods testing, and then modified both
the devices and their software to use them to measure lead in bones ...,” a part of the
56-page motion says. “The bone lead measurements and Dr. Specht’s opinions about
them should be excluded because they are unreliable and unhelpful.”

Veolia is one of the remaining defendants in lawsuits filed in state and federal courts
by attorneys for residents and others who claim they were harmed after the city used
the Flint River as its drinking water source in parts of 2014 and 2015.

After the switch, Flint’s water showed elevated levels of lead, bacteria, and
chlorination byproducts.

Worries about the safety of city water prompted Flint officials to hire Veolia in February
2015, paying $40,000 for a “top down assessment” of city water.
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                                                                          28
                                                                         Regional          (28 of 36)
Medical Center, and Rowe Professional Services, each of which has agreed to pay a
collective $641 million to settle the civil lawsuits against them and their employees.

Because Veolia hasn’t settled the cases against it, it is on track to eventually contest
them at trial as are the U.S. Environmental Protection Agency and companies involved
in a bond sale that allowed Flint to buy into the Karengondi Water Authority rather
than stay with what became the Great Lakes Water Authority.

VNA has previously told MLive-The Flint Journal that its scope of work in Flint was
limited and that it’s been unfairly targeted as “a corporate villain where one does not
exist.”

The company has said it was only hired by the city to assess bacteria and chlorine
compounds in Flint’s water supply, not lead, but that it nevertheless warned city
officials about the possibility of lead contamination.

MLive and The Guardian reported in December 2019 that email exchanges in February
2015 between executives at Veolia and a city contractor at the time, showed some
senior employees were aware that lead from the city’s pipes could be leeching into
drinking water, but the company never made that recommendation public.

At the time, Veolia was exploring other lucrative contracts with the city.

Bone lead testing as overseen by Specht was already under fire in Flint because of
limited availability and questions about its safety and effectiveness in measuring
exposure to lead.

Flint medical doctors Mona Hanna-Attisha and Lawrence Reynolds have been critical
of the testing, and Flint attorney Val Washington protested after attorneys involved in
drafting the settlement agreement, which included greater payments to those who
could demonstrate lead exposure, advertised for clients based in part on having
primary access to the portable bone scanning equipment.

Hunter Shkolnik, whose law firm established the testing program, said in an email to
MLive-The Flint Journal Monday, May 24, that Veolia is among engineering companies
that have sought to preclude testimony from every expert witness proposed by
attorneys for city residents, amounting to a waste of money and court time.

“To be clear in the coming weeks there will be extensive support in the form of
declarations and research studies in opposition to the baseless claims made in the
motions and further supporting that bone lead testing as utilized in the Flint water
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                                                                          establishing       9
                                                                                       lead 29
                                                                                            exposure,” (29 of 36)
             Shkolnik’s statement says.

             Hanna-Attisha, the pediatrician who helped blow the whistle on elevated blood levels
             in Flint children in 2015, told The Journal in March that she has advised against the
             use of portable bone scanning devices because they were not designed for human
             testing, because of the potential unknown harm it may cause and because “it will not
             capture historic exposure” suffered by Flint children.

             Reynolds, a health advisor to Flint Mayor Sheldon Neeley, filed his objections to the
             pending water crisis settlement and its reliance on the pXRF in federal court, calling
             the bone testing “a human rights violation ... the Tuskegee experiment all over again.”

             Veolia’s motion says Specht received a bachelor’s degree in physics in 2012 and a
             doctorate in medical physics in 2016, both from Purdue University.

             It claims Specht’s report and opinions should be excluded because the pXRF devices
             used in Flint “have not been shown to accurately measure bone lead levels in children,”
             that the doctor’s opinions regarding the significance of bone lead measurements are
             unreliable, and that the tests can not trace bone lead to particular sources.

             Read more on MLive:

             Flint pediatrician who blew the whistle on water crisis won’t recommend bone
             scans for kids

             Flint mayor’s health advisor calls water settlement bone lead testing a human
             rights violation’

             Firm knew about lead in Flint’s water but didn’t warn public, emails show

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   DEBORAH S. HUNT, Clerk

Pro Se Disabled Appellant Melvin Jones Jr.’s ISSUED
RAISED ON APPEAL:
  1.) Denovo Review is required as to Jones’ disability
     accommodation and communication emails with
     District Court Pro Se facilitator Richard Loury [i.e.
     to include Jones (due to ECF Doc #80)] NOT being
     able to {i.e. being in fear of possible violation of
     ECf Doc #80}.... Jones thereby NOT being able to
     reach out in response to Mr. Loury’s email
     received on Wednesday May 26th, 2021, as to if
     Jones had ANY procedural questions as to [his]
     ﬁling of 6th Cir. notice of Appeal w.r.t. IPF matters
     and such,
  2.) Denovo Review is required as to THE Flint Water
     Crisis BONE-SCAM matter,
  3.) Denovo Review is Required as to The District
     Court in # 21-cv-10937 should have allowed Jones
     to AMEND his complaint… due to Jones’ DILIGENT
     EFFORT to adhere to and meet the Honorable
     Judge Tarnow’s order for a more deﬁnitive
     statement {e.g. which was due by June 18th, 2021
     --- which is to say Jones was WAY EARLIER in his
     earnest attempt to meet said order}, and
  4.) The attorney Defendants (e.g. Stern, Lanciotti,
     Hunter and Napoli Law Firm) violated Jones’
     Federal ADA )Americans with Disability Act Rights
    Case:21-1530
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  as to formation of the ORIGINAL RETAINER
  AGREEMENT, Withdraw- Letter, and Bone Scan
  Appointment (e.g. AND failure to disclose the
  actual nature of the “BONE SCAN” RESEARCH -
  PROJECT” [and] wrongful abandonment of
  Disabled Jones as a client [which includes causes
  PREJUDICE to Jones and failing to properly seek
  and obtain the District Courts proper
  authorization of termination of attorney
  relationship with Disabled Jones) --- and thereby
  said attorneys [most likely] ALSO violated
  Michigan State attorney professional and ethical
  conduct protocols,
5.) The Attorney Defendants… RESULTANTLY
  (wrongfully {at a bare minimum}.... Deprived
  Jones of [his] Federal Fair Housing Rights because
  said attorney defendants’ conduct against
  Disabled Jones does and did adversely a ect [and]
  INTERFERE with Jones’ USE and ENJOYMENT of
  his home in the City of Flint (i.e. 1935 Hosler St -
  Flint, Michigan 48503)... on account of Jones
  being a disabled and/ or a Disabled Black African
  American person as deﬁned by the Fair Housing
  Act.
6.) Denvo Review is required as to the VARIOUS
  Michigan State Constitutional Issues presented by
      Case:21-1530
      Case: 21-1530   Document:41-1
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    Jones in the District Court (i.e. in civil case #
    21-cv-10937),
  7.) Denovo Review is required as to the District
    Courts WRONGFUL “parallel-companion linking
    of Jones, et al v. Michigan Department of Civil
    Rights” WITH Jones’ CURRENT civil case which
    ACTUALLY relates to the Flint Water Crisis Case #
    16-cv-10444…. And in so doing [at a bare
    minimum] implicates that IF there was a Pro Se
    Facilitator [AT THAT TIME of the Judge BATTANI
    MATTER].... Which is to say, a HELPFUL and
    COURTEOUS Pro Se Facilitator such as District
    Court Pro Se Facilitator Richard Loury (for
    example) AND REMOTE hearings VIA ZOOM, the
    the PRO SE UPLOAD document feature….then
    NEITHER Judge Battani NOR Magistrate Patti
    would have had cause to dismiss the [wrongfully
    referenced case by Judge Levy… e.g. Jones et. al v.
    Michigan Dept. of Civil Rights, et al].

Please consider the aforementioned as AN OUTLINE of
the ISSUES which I desire to present on/ in the instant
appeal in support of my IFP Motion. Dat : May 27t , 2021

……………………………………………………………………………………………
Mel J ne . - Pro sa d AP L  - Pla ﬀ
     Case:21-1530
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      DEBORAH S. HUNT, Clerk



Appeal Issue #2:
    The “bone scan” procedure put upon the
unsuspecting residents of Flint, Michigan {i.e.
the majority of who are poor, Black African
Americans [e.g. which was attempted to be
carried out on Appellant Melvin Jones Jr., who
is also Black African American, poor and
Disabled…. and as a result Jonessuffers
HARM and Damages caused} by attorney
defendants - Attorney Stern, Lanciotti, Hunter
and Napoli Law Firm…. UNDISCLOSED
INHUMANE RESEARCH….. See for Example
(and article affixed hereto VIEWED with the
record in civil - case # 21-cv-10937):


Bone Lead Testing
Facility
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The Mount Sinai Bone Lead Testing Facility is one of the country’s

leading centers providing a specialized technique for measuring

long-term lead exposure. It is located in the Department of

Environmental Medicine and Public Health, Icahn School of Medicine

at Mount Sinai in New York City.



Primarily for research, in vivo, non-invasive, human bone-lead levels

are measured with a technique called X-Ray Fluorescence that is both

developed and used here.



Volunteer subjects are measured for federally funded research

studies. Also measured are people who are referred to us by

physicians because they have symptoms of lead toxicity or because

the physician is concerned about lead exposure the patient may have

suffered in the past. In the absence of documented exposure, the

information obtained from bone-lead measurements can provide

evidence of historical lead exposure.

Our Mission
Our mission is to learn about the associations between the amount of lead in our bodies

and its effects on our health.
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Meet the Director
Professor Andrew C. Todd measures lead in bone to assess cumulative lead exposure;

directs the Insulators’ Tissue Bank, an asbestos-related disease research biorepository

he developed for the Heat and Frost Insulators & Allied Workers union; and directs the

World Trade Center Health Program General Responder Data Center at Mount Sinai

that manages WTCHP data for over 45,000 general responders involved in the rescue

and recovery efforts that followed the attacks on 9/11.




Professor Todd holds a PhD in Physics from The University of Birmingham in England. He
is a Research Professor in the Department of Environmental Medicine and Public Health at
the Icahn School of Medicine at Mount Sinai, where he has been a faculty member since
1992. He was formerly a Visiting Professor at The University of Maryland (Baltimore),
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Program in Toxicology, and he remains an Adjunct Associate Professor at the Johns
Hopkins University, Bloomberg School of Public Health.


Professor Todd has been the Principal Investigator of numerous NIH-funded studies and a
co-investigator on many others. His research has centered on both the development of in
vivo bone lead measurements for the assessment of long-term lead exposure and on the
application of those techniques to studies of human health. This work has been performed
across the US and in several countries around the world, resulting in nearly 200
peer-reviewed publications.


Professor Todd has reviewed for the National Institutes of Health and the American Public
Health Association, and for Environmental Research, Environmental Health Perspectives,
JAMA (Journal of the American Medical Association), Medical Physics and Physics in
Medicine and Biology. He is a Contributing Editor to the American Journal of Industrial
Medicine.


In the aftermath of the WTC attacks, Professor Todd led all non-medical aspects of the
provision of medical evaluation and subsequent treatment of WTC rescue and recovery
workers. His compelling application to site the WTC General Responder Data Center at
Mount Sinai was awarded in 2004. Professor Todd is currently the Director of this Center at
Mount Sinai.



Professor Todd also developed, obtained funding for and now directs a North American
tissue collection effort for lung cancer and mesothelioma from asbestos-exposed workers
and their families.


Source:
https://labs.icahn.mssm.edu/toddlab/
